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      In The United States Court of Federal Claims
                                            No. 00-512L

                                      (Filed: March 12, 2010)
                                            __________
 PETRO-HUNT, L.L.C.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                              ORDER
                                             __________

        A telephonic status conference was held in this case on Thursday, March 11, 2010.
Participating in the conference were Joseph D. White, for plaintiff, and James D. Gette, for
defendant. Consistent with the discussions during the conference, the schedule for further
proceedings in this case is as follows:

       1.       On or before April 16, 2010, initial disclosures under RCFC 26(a)(1) shall
                be completed;

       2.       On or before February 1, 2011, fact discovery shall be completed;

       3.       On or before February 15, 2011, the parties shall file a joint status report,
                with a proposed schedule for dispositive motions, as appropriate;

       4.       On or before February 15, 2011, the parties shall disclose their expert
                witnesses;

       5.       On or before April 1, 2011, plaintiff shall disclose its expert materials, as
                required by RCFC 26(a)(2);

       6.       On or before June 1, 2011, defendant shall disclose its expert materials, as
                required by RCFC 26(a)(2);

       7.       On or before July 15, 2011, expert discovery shall be completed; and
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8.       On or before July 29, 2011, the parties shall file a joint status report
         indicating how this case should proceed.

IT IS SO ORDERED.




                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge




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